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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                        CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                 CLERK OF COURT

Date: March 24, 2023                                        DC Docket #: 22-cv-6950
Docket #: 23-155cv                                          DC Court: SDNY (WHITE
Short Title: Hulinsky v. County of Westchester County       PLAINS)
Department of Public                                        DC Judge: Halpern



                            NOTICE OF DEFECTIVE FILING



On Maech 24, 2023 the Notice of Hearing Date, on behalf of the Appellant 40 Days for Life,
Oksana Hulinsky, Regina Creary Molinelli and White Plains 40 Days for Life, was submitted in
the above referenced case. The document does not comply with the FRAP or the Court's Local
Rules for the following reason(s):

______ Failure to submit acknowledgment and notice of appearance (Local Rule 12.3)
______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
______ Missing motion information statement (T-1080 - Local Rule 27.1)
______ Missing supporting papers for motion (e.g, affidavit/affirmation/declaration) (FRAP 27)
______ Insufficient number of copies (Local Rules: 21.1, 27.1, 30.1, 31.1)
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______ Oversized filing (FRAP 27 (motion), FRAP 32 (brief))
______ Missing Amicus Curiae filing or motion (Local Rule 29.1)
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       Please cure the defect(s) and resubmit the document, with the required copies if
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        Failure to cure the defect(s) by the date set forth above will result in the document being
stricken. An appellant's failure to cure a defective filing may result in the dismissal of the appeal.

Inquiries regarding this case may be directed to 212-857-8539.
